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                                                                                +1 973 360 9831 fax




    July 1, 2024

    VIA ECF

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608

    Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
              and Products Liability Litigation - MDL 2738

    Dear Magistrate Judge Singh:

            Pursuant to the Case Management Order entered on February 13, 2024 (ECF No. 29032),
    outlining procedures for adjudication of cases where the Plaintiff fails to comply with the Court
    Orders on case specific fact discovery and the Plaintiff Profile Form (“PPF”), please see the
    attached list of non-compliant cases. Counsel for these Plaintiffs have received notice through
    MDL Centrality (if they are registered there as required by Court Orders) and e-mail (whether
    registered or not).

            Enclosed, for the first time, is a list of cases filed from 2021 through September 1, 2023,
    which are deficient in providing a PPF. Defendants will file an Order to Show Cause on September
    1, 2024, should any of these noted cases continue to fail to provide a PPF. Because of the way
    the due dates fell, there is no “second time” list of overdue fact sheets included with this PPF
    Report.

              Thank you for your consideration of these matters.


                                                      Respectfully submitted,

                                                      /s/ Susan M. Sharko
                                                      Susan M. Sharko
                                                      Sean C. Garrett
                                                      FAEGRE DRINKER BIDDLE & REATH LLP

                                                      Attorneys for Defendants
                                                      Johnson & Johnson and LLT Management, LLC
    SMS/scg
    Encl: (1)
    cc: Leigh O’Dell, Esq. (via e-mail)
        Michelle Parfitt, Esq., (via e-mail)
        All counsel of record (via ECF)
     July 1, 2024, 2021-September
Case 3:16-md-02738-MAS-RLS Document1,32869
                                      2023 Filed
                                           cases   deficient
                                                 07/01/24    in2serving
                                                          Page           a
                                                                 of 24 PageID: 188166
                                               Plaintiff Profile Form
        This is the first month these cases have been listed to the Court. Failure to cure the deficiencies will
                result in the cases being subject to an Order to Show Cause on September 1, 2024
 Row #                  Case Name                        Combined Plaintiff Firms              Current Cause #
   1                  Studwell, Robert                     Alex Davis Law Office                3:23-cv-10854
   2                  Hodge, Barbara                     Alexander Law Group, PLC               3:21-cv-10050
   3                    Sims, Emma                         Andrus Wagstaff, P.C.                3:21-cv-14204
   4                   Wube, Hanna                         Andrus Wagstaff, P.C.                3:21-cv-18286
   5                   Aboukar, Sana                       Andrus Wagstaff, P.C.                3:21-cv-18356
   6                  McKee, Nikkisha                      Andrus Wagstaff, P.C.                3:21-cv-18614
   7                Culver, Annie Bibbs                    Andrus Wagstaff, P.C.                3:21-cv-18634
   8                Gonzalez, Rosalinda                    Andrus Wagstaff, P.C.                3:21-cv-18636
   9                   Brown, Brikiya                      Andrus Wagstaff, P.C.                3:21-cv-18752
   10                 Linville, Tammy                      Andrus Wagstaff, P.C.                3:21-cv-18785
   11                 Johnston, Carrie                       Ashcraft & Gerel                   3:21-cv-10944
   12                   Yost, Cory T.                        Ashcraft & Gerel                   3:21-cv-15887
   13                  Wapniak, Elliot                       Ashcraft & Gerel                   3:21-cv-18037
   14                Schlegal, Richard                       Ashcraft & Gerel                   3:21-cv-18719
   15                Ayers-Ziegler, Lisa                     Ashcraft & Gerel                   3:21-cv-19152
   16               Jackson, Sequeena                        Ashcraft & Gerel                   3:21-cv-19247
   17                   Aguilar, Ruth                        Ashcraft & Gerel                   3:23-cv-04738
   18               Amato, Sharon Ann                        Ashcraft & Gerel                   3:23-cv-04945
   19               Brogna, Sharon Ruth                      Ashcraft & Gerel                   3:23-cv-05274
   20                Blount, Sr., Ernest                     Ashcraft & Gerel                   3:23-cv-06257
   21                 Konrad, Lorry A.                       Ashcraft & Gerel                   3:23-cv-08505
   22                Aucoin, Stephanie                       Ashcraft & Gerel                   3:23-cv-10707
   23              Griffin, Monica Lynette                   Ashcraft & Gerel                   3:23-cv-10727
   24                   Wrixon, Terri                        Ashcraft & Gerel                   3:23-cv-10789
   25                  Carroll, Lisa A.                      Ashcraft & Gerel                   3:23-cv-10835
   26                  Ormsby, Mark                          Ashcraft & Gerel                   3:23-cv-10888
   27                  Brian, Victoria                       Ashcraft & Gerel                   3:23-cv-10952
   28               Wyckoff, Shonda K.                       Ashcraft & Gerel                   3:23-cv-10990
   29                   Pearson, Jim                         Ashcraft & Gerel                   3:23-cv-11039
   30                 Taylor, Judith E.                      Ashcraft & Gerel                   3:23-cv-11112
   31             Hinojosa, Sara Carpeaux                    Ashcraft & Gerel                   3:23-cv-11247
   32                Reynolds, Sharon                        Ashcraft & Gerel                   3:23-cv-11276
   33                  Schultz, Diana                        Ashcraft & Gerel                   3:23-cv-11793
   34              Taub, Genia Epelbaum                      Ashcraft & Gerel                   3:23-cv-12383
   35                Dorward, Claudine                       Ashcraft & Gerel                   3:23-cv-12402
   36                Devlieg, Johanna                        Ashcraft & Gerel                   3:23-cv-12423
   37                  Hooper, David                         Ashcraft & Gerel                   3:23-cv-12446
   38                Mcgovern, Jane E.                       Ashcraft & Gerel                   3:23-cv-12536
   39              Nemec, Mary Elizabeth                     Ashcraft & Gerel                   3:23-cv-12550
   40               Morrill, Janet Kilday                    Ashcraft & Gerel                   3:23-cv-12590
   41               Johnson, Rochelle Y.                     Ashcraft & Gerel                   3:23-cv-12603
   42            Bullard, Guadalupe Patricia                 Ashcraft & Gerel                   3:23-cv-12748
   43             Hanson, Michael Gordon                     Ashcraft & Gerel                   3:23-cv-12754
   44                  Finley, Dennis                        Ashcraft & Gerel                   3:23-cv-12782
   45                  Murillo, Maria                        Ashcraft & Gerel                   3:23-cv-12871



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 Row #            Case Name               Combined Plaintiff Firms   Current Cause #
   46        Cassano, Paul Joseph             Ashcraft & Gerel        3:23-cv-12893
   47           Schnug, Linda I.              Ashcraft & Gerel        3:23-cv-12977
   48            Wilson, Jerral               Ashcraft & Gerel        3:23-cv-13145
   49           Popoola, Richard              Ashcraft & Gerel        3:23-cv-13156
   50            Stockton, Janie              Ashcraft & Gerel        3:23-cv-13207
   51          Ambeau, Carol Dee              Ashcraft & Gerel        3:23-cv-13378
   52           Liddeke, Kenneth              Ashcraft & Gerel        3:23-cv-13391
   53             Luna, Johnny                Ashcraft & Gerel        3:23-cv-13476
   54             Kistler, Erica              Ashcraft & Gerel        3:23-cv-13492
   55             Lind, Susan               Ashcraft & Gerel, LLP     3:23-cv-12924
   56         Monreal, Francisco J          Ashcraft & Gerel, LLP     3:21-cv-06038
   57          Barnett, Stephanie           Ashcraft & Gerel, LLP     3:21-cv-10822
   58           Perry, Frances M            Ashcraft & Gerel, LLP     3:21-cv-10823
   59           Allen, Rosemary             Ashcraft & Gerel, LLP     3:21-cv-10824
   60          Auguste, Guirtelle           Ashcraft & Gerel, LLP     3:21-cv-10837
   61            Bowles, Alicia             Ashcraft & Gerel, LLP     3:21-cv-10842
   62            Burgess, Diona             Ashcraft & Gerel, LLP     3:21-cv-10845
   63              Boyd, Alisa              Ashcraft & Gerel, LLP     3:21-cv-10882
   64          Caffery, Staysha J           Ashcraft & Gerel, LLP     3:21-cv-10883
   65             Compton, Jo               Ashcraft & Gerel, LLP     3:21-cv-10885
   66          Dean, Tava Famica            Ashcraft & Gerel, LLP     3:21-cv-10888
   67             Dodd, Donna               Ashcraft & Gerel, LLP     3:21-cv-10890
   68            Rivera, Miguel             Ashcraft & Gerel, LLP     3:21-cv-10892
   69           Googe, Barbara              Ashcraft & Gerel, LLP     3:21-cv-10893
   70           Grayson, Beverly            Ashcraft & Gerel, LLP     3:21-cv-10895
   71          Chitwood, Marietta           Ashcraft & Gerel, LLP     3:21-cv-10899
   72             Galvez, April             Ashcraft & Gerel, LLP     3:21-cv-10901
   73    Manzanares-Velasquez, Jeanette     Ashcraft & Gerel, LLP     3:21-cv-10902
   74          Glasgow, Kathleen            Ashcraft & Gerel, LLP     3:21-cv-10915
   75             Mayer, Gina               Ashcraft & Gerel, LLP     3:21-cv-10918
   76            Neeland, Kim               Ashcraft & Gerel, LLP     3:21-cv-10922
   77            Phillips, Destini          Ashcraft & Gerel, LLP     3:21-cv-10925
   78          Scarborough, Paula           Ashcraft & Gerel, LLP     3:21-cv-10934
   79            Ferrel, Ramona             Ashcraft & Gerel, LLP     3:21-cv-10952
   80            Griffin, Gladys            Ashcraft & Gerel, LLP     3:21-cv-10963
   81              Hale, Kathy              Ashcraft & Gerel, LLP     3:21-cv-10964
   82            Koon, Sue Ann              Ashcraft & Gerel, LLP     3:21-cv-10967
   83           Murphy, Sharon              Ashcraft & Gerel, LLP     3:21-cv-10972
   84            O'Brien, Cathy             Ashcraft & Gerel, LLP     3:21-cv-10973
   85         Richard, Frances M.           Ashcraft & Gerel, LLP     3:21-cv-10974
   86           Rieders, Summer             Ashcraft & Gerel, LLP     3:21-cv-10975
   87            Rucker, Alyssa             Ashcraft & Gerel, LLP     3:21-cv-10977
   88           Stamper, Virginia           Ashcraft & Gerel, LLP     3:21-cv-10979
   89         Tremaine, Tawnia M.           Ashcraft & Gerel, LLP     3:21-cv-10982
   90           Turner, Nakisha             Ashcraft & Gerel, LLP     3:21-cv-10983



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 Row #             Case Name                 Combined Plaintiff Firms   Current Cause #
   91             Vosefski, Holly              Ashcraft & Gerel, LLP     3:21-cv-10984
   92            Williams, Jeana               Ashcraft & Gerel, LLP     3:21-cv-10988
   93           Williams, Melvinita            Ashcraft & Gerel, LLP     3:21-cv-10989
   94           Woods, Kimberlin               Ashcraft & Gerel, LLP     3:21-cv-10990
   95              Havens, Lisa                Ashcraft & Gerel, LLP     3:21-cv-11000
   96           Dubose, Madeline               Ashcraft & Gerel, LLP     3:21-cv-11508
   97          Miles, Amanda Lynn              Ashcraft & Gerel, LLP     3:21-cv-15877
   98             Morgan, Breton               Ashcraft & Gerel, LLP     3:21-cv-15883
   99           Harris, Margaret M.            Ashcraft & Gerel, LLP     3:21-cv-15919
  100           Cannon, Renee C.               Ashcraft & Gerel, LLP     3:21-cv-15937
  101              Melton, Amy                 Ashcraft & Gerel, LLP     3:21-cv-15939
  102            Price, Thomas L.              Ashcraft & Gerel, LLP     3:21-cv-15943
  103             Bryant, Angela               Ashcraft & Gerel, LLP     3:21-cv-16109
  104          Fredrickson, Melissa            Ashcraft & Gerel, LLP     3:21-cv-16904
  105             Bailey, Nijema               Ashcraft & Gerel, LLP     3:21-cv-17955
  106         Steinberg, Elenn Rose            Ashcraft & Gerel, LLP     3:21-cv-18039
  107             Davis, Laquita               Ashcraft & Gerel, LLP     3:21-cv-19239
  108            Harding, Bonnie               Ashcraft & Gerel, LLP     3:23-cv-04895
  109             Alsene, Kathie               Ashcraft & Gerel, LLP     3:23-cv-04926
  110            Self, Heather Lea             Ashcraft & Gerel, LLP     3:23-cv-04956
  111           Richmiller, Heather            Ashcraft & Gerel, LLP     3:23-cv-05012
  112          Gunn, Dolores Jean              Ashcraft & Gerel, LLP     3:23-cv-05124
  113         Brown, Anne Margaret             Ashcraft & Gerel, LLP     3:23-cv-05177
  114             Dowdy, Latisha               Ashcraft & Gerel, LLP     3:23-cv-05190
  115         Giesing, Susan Diane             Ashcraft & Gerel, LLP     3:23-cv-05219
  116    De Barros Rodrigues, Maria Stella     Ashcraft & Gerel, LLP     3:23-cv-05239
  117          Flatau, Nancy Louise            Ashcraft & Gerel, LLP     3:23-cv-05242
  118            Ballard, Thomas               Ashcraft & Gerel, LLP     3:23-cv-05277
  119          Kiggins, Eddie Frank            Ashcraft & Gerel, LLP     3:23-cv-06141
  120      LaCoursiere, Paulette Denise        Ashcraft & Gerel, LLP     3:23-cv-06183
  121           Soulier, Luz Helena            Ashcraft & Gerel, LLP     3:23-cv-06246
  122           McCants, Debra S.              Ashcraft & Gerel, LLP     3:23-cv-06358
  123        Parseghian, Nver Geroge           Ashcraft & Gerel, LLP     3:23-cv-06900
  124             Ashworth, Lori               Ashcraft & Gerel, LLP     3:23-cv-06955
  125             Bonham, David                Ashcraft & Gerel, LLP     3:23-cv-07060
  126             Bennink, Dawn                Ashcraft & Gerel, LLP     3:23-cv-07102
  127              Mattia, Sarah               Ashcraft & Gerel, LLP     3:23-cv-07149
  128             Bush, Brenda                 Ashcraft & Gerel, LLP     3:23-cv-08027
  129          Senn-Jones, Tashia              Ashcraft & Gerel, LLP     3:23-cv-08093
  130            Palomarez, Mary               Ashcraft & Gerel, LLP     3:23-cv-08137
  131             Odom, Martha                 Ashcraft & Gerel, LLP     3:23-cv-08292
  132            Graves, Lloyd E.              Ashcraft & Gerel, LLP     3:23-cv-08358
  133           Zatuchney, Marlyn              Ashcraft & Gerel, LLP     3:23-cv-08378
  134           Pfeil, Rhonda Jean             Ashcraft & Gerel, LLP     3:23-cv-08424
  135              Lillge, Laura               Ashcraft & Gerel, LLP     3:23-cv-08441



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 Row #            Case Name                        Combined Plaintiff Firms                  Current Cause #
  136      Johnson-Young, Shirley A.                 Ashcraft & Gerel, LLP                    3:23-cv-08544
  137           Kennedy, Judith                      Ashcraft & Gerel, LLP                    3:23-cv-08699
  138          Moran, Candi Ann                      Ashcraft & Gerel, LLP                    3:23-cv-08812
  139       Richard, Bob Newman                      Ashcraft & Gerel, LLP                    3:23-cv-08844
  140           Rudisill, Evelyn                     Ashcraft & Gerel, LLP                    3:23-cv-09226
  141          Gamez, Frances                        Ashcraft & Gerel, LLP                    3:23-cv-09360
  142            Breu, Brenda                        Ashcraft & Gerel, LLP                    3:23-cv-09401
  143             Fisk, Greg                         Ashcraft & Gerel, LLP                    3:23-cv-09678
  144           Heslar, Ronald                       Ashcraft & Gerel, LLP                    3:23-cv-09854
  145           Harmon, Joyce                        Ashcraft & Gerel, LLP                    3:23-cv-09910
  146           Barr, Gerald F.                      Ashcraft & Gerel, LLP                    3:23-cv-10007
  147          Dinsmore, Jamie                       Ashcraft & Gerel, LLP                    3:23-cv-10895
  148             Silny, John                        Ashcraft & Gerel, LLP                    3:23-cv-11016
  149            Robson, Mark                        Ashcraft & Gerel, LLP                    3:23-cv-11292
  150          Mohror, Barbara                       Ashcraft & Gerel, LLP                    3:23-cv-13246
  151         Abbott, Betsie Wells                   Ashcraft & Gerel, LLP                    3:23-cv-13365
  152         Newton, Eleanor M.                     Ashcraft & Gerel, LLP                    3:23-cv-13369
  153        Raymondo, Deborah                       Ashcraft & Gerel, LLP                    3:23-cv-13432
  154        Wilson, Tequilla Jane                   Ashcraft & Gerel, LLP                    3:23-cv-13462
  155          Bridges, Terrence                     Ashcraft & Gerel, LLP                    3:23-cv-13508
  156            Perry, Paula                        Ashcraft & Gerel, LLP                    3:23-cv-13529
  157           Gouge, Ronald                        Ashcraft & Gerel, LLP                    3:23-cv-13604
  158          Sablan, Elizabeth                     Ashcraft & Gerel, LLP                    3:23-cv-13639
  159           Segovia, Mario                       Ashcraft & Gerel, LLP                    3:23-cv-13657
  160          Graves, Christine                     Ashcraft & Gerel, LLP                    3:23-cv-13668
  161           Morton, Brenda                       Ashcraft & Gerel, LLP                    3:23-cv-13753
  162         Macedo, Shannon                        Ashcraft & Gerel, LLP                    3:23-cv-13768
  163            Lewis, Shari                        Ashcraft & Gerel, LLP                    3:23-cv-13786
  164          Abraham, Ashley                        Ava Law Group, Inc.                     3:21-cv-14323
  165         Rosenthal, Debra E                      Ava Law Group, Inc.                     3:21-cv-14324
  166           Palmer, Bobbie                        Ava Law Group, Inc.                     3:21-cv-16033
  167           Hines, Dolly A.                       Ava Law Group, Inc.                     3:21-cv-17440
  168            Artis, Tammy                         Ava Law Group, Inc.                     3:23-cv-13510
  169            Patinos, Luis                        Ava Law Group, Inc.                     3:23-cv-13779
  170          Scearce, Carolyn                     Bachus & Schanker LLC                     3:21-cv-15763
  171           Caferri, Debora              Bart Durham Injury Law // Frazer PLC             3:21-cv-18985
  172             Sims, Dawn           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:21-cv-14803
                                        // Lenze Lawyers, PLC // Robinson, Calcagnie,
                                                 Robinson, Shapiro, Davis, Inc.
  173            Casey, Fred           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:21-cv-15013
                                        // Lenze Lawyers, PLC // Robinson, Calcagnie,
                                                 Robinson, Shapiro, Davis, Inc.
  174           Baca, Thomas                            Bisnar and Chase                      3:21-cv-15087
  175            Craig, Carlie                         Bisnar and Chase                       3:21-cv-15092
  176           Johnson, Shelia                        Bisnar and Chase                       3:21-cv-15104
  177            Neal, Robert                          Bisnar and Chase                       3:21-cv-15108




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 Row #          Case Name                      Combined Plaintiff Firms                 Current Cause #
  178       Rodriguez, Angelina                    Bisnar and Chase                      3:21-cv-15109
  179         Wesley, Shatika                      Bisnar and Chase                      3:21-cv-15184
  180         Horvath, Pamela                      Bisnar and Chase                      3:21-cv-19618
  181         Romine, Cynthia                      Bisnar and Chase                      3:21-cv-19718
  182             Paz, Ana                         Bisnar and Chase                      3:23-cv-12711
  183         Gonzalez, Laura                      Bisnar and Chase                      3:23-cv-12730
  184         Kolodziej, Elaine                       Breit Law PC                       3:21-cv-00223
  185         Kolodziej, Elaine                       Breit Law PC                       3:21-cv-00497
  186        Blajszczak, Thomas                     Brown Chiari LLP                     3:21-cv-18439
  187         Shelton, Deanna       Brown, Readdick, Bumgartner, Carter, Strickland &    3:21-cv-18461
                                                      Watkins LLP
  188         Hird, Elizabeth J.                Bruera Law Firm PLLC                     3:21-cv-17336
  189           Slater, Carl L                      Cellino Law LLP                      3:21-cv-00312
  190         Thomas, Maxine                        Cellino Law LLP                      3:21-cv-00315
  191         Hunt, Michael D                       Cellino Law LLP                      3:21-cv-14235
  192         Salter, Willodean                   Champ Lyons III, PC                    3:21-cv-01708
  193          Byers, Amanda                   Constant Legal Group LLP                  3:21-cv-09129
  194        Wareham, Rhonda                   Constant Legal Group LLP                  3:21-cv-09135
  195          Jordan, Jason             Cory, Watson, Crowder & Degaris, P.C.           3:21-cv-18971
  196        McMillan, Guilaine          Cory, Watson, Crowder & Degaris, P.C.           3:21-cv-19665
  197        Moreland, Roberta           Cory, Watson, Crowder & Degaris, P.C.           3:21-cv-19698
  198          Mercado, Luz                         Cutter Law, P.C.                     3:22-cv-01046
  199           Zirkle, Karen                Davis, Bethune & Jones, L.L.C.              3:21-cv-08514
  200          Smith, Lynnam                 Davis, Bethune & Jones, L.L.C.              3:21-cv-08516
  201           Neligh, Shyla                Davis, Bethune & Jones, L.L.C.              3:21-cv-08521
  202          Smith, Leanna                 Davis, Bethune & Jones, L.L.C.              3:21-cv-08535
  203      Schwartzenberger, Kim             Davis, Bethune & Jones, L.L.C.              3:21-cv-08544
  204         Landis, Kenneth                Davis, Bethune & Jones, L.L.C.              3:21-cv-08812
  205          Herron, Alison                Davis, Bethune & Jones, L.L.C.              3:21-cv-09174
  206       Garcia, Midiam Isabel            Davis, Bethune & Jones, L.L.C.              3:21-cv-09175
  207        Fremount, Michelle              Davis, Bethune & Jones, L.L.C.              3:21-cv-09176
  208          Grimes, Shari                 Davis, Bethune & Jones, L.L.C.              3:21-cv-09178
  209           Lopez, Devra                 Davis, Bethune & Jones, L.L.C.              3:21-cv-09182
  210         Beatrice, Donna                Davis, Bethune & Jones, L.L.C.              3:21-cv-09189
  211          Bonilla, Grecia               Davis, Bethune & Jones, L.L.C.              3:21-cv-09191
  212          Bromley, Jamie                Davis, Bethune & Jones, L.L.C.              3:21-cv-09193
  213          Bonner, Karla                 Davis, Bethune & Jones, L.L.C.              3:21-cv-09200
  214            Soto, Ivette                Davis, Bethune & Jones, L.L.C.              3:21-cv-13209
  215         Daniels, Kathryn               Davis, Bethune & Jones, L.L.C.              3:21-cv-13214
  216        Rodriguez, Celinda              Davis, Bethune & Jones, L.L.C.              3:21-cv-13328
  217         Panaligan, Elaiza              Davis, Bethune & Jones, L.L.C.              3:21-cv-13330
  218       Moore, Shasta Kearns             Davis, Bethune & Jones, L.L.C.              3:21-cv-13331
  219         Nietfeld, Kathryn              Davis, Bethune & Jones, L.L.C.              3:21-cv-16268
  220         Shepard, Sherri                Davis, Bethune & Jones, L.L.C.              3:21-cv-16466
  221          Himes, Sharon                 Davis, Bethune & Jones, L.L.C.              3:21-cv-16469




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 Row #          Case Name                        Combined Plaintiff Firms                 Current Cause #
  222         Lesueur, Beverly                 Davis, Bethune & Jones, L.L.C.              3:21-cv-16520
  223           Potes, Alena                   Davis, Bethune & Jones, L.L.C.              3:21-cv-16550
  224         Ochoa, Maricella                 Davis, Bethune & Jones, L.L.C.              3:21-cv-16551
  225          Knight, Voncel                  Davis, Bethune & Jones, L.L.C.              3:21-cv-16553
  226        Gugelman, Brenda                  Davis, Bethune & Jones, L.L.C.              3:21-cv-16914
  227         Deshong, Daleda                  Davis, Bethune & Jones, L.L.C.              3:21-cv-16919
  228         DeRouen, Laigha                  Davis, Bethune & Jones, L.L.C.              3:21-cv-16930
  229          Faulk, Kathleen                  DEGARIS WRIGHT MCCALL                      3:21-cv-19892
  230             Lam, Lan                Dennis Law Firm // Edward F. Luby, LLC           3:21-cv-16685
  231          Williams, Elvie                   DiCello Levitt Gutzler LLC                3:21-cv-12477
  232       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  233       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  234       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  235       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  236       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  237       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  238       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  239       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  240       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  241       Collins, Dolores, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13441
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  242         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  243         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  244         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  245         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  246         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.




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 Row #           Case Name                       Combined Plaintiff Firms                 Current Cause #
  247         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  248         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  249         Boyd, Dawn, et al       Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13443
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  250       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  251       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  252       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  253       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  254       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  255       Nash, Kimberly et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13447
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  256       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  257       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  258       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  259       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  260       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  261       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  262       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  263       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  264       Boland, Nicholet, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13450
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  265       Feher, Barbara, et al     Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.
  266       Feher, Barbara, et al     Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                      // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                             Inc.



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 Row #           Case Name                        Combined Plaintiff Firms                 Current Cause #
  267       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  268       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  269       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  270       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  271       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  272       Feher, Barbara, et al      Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13451
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  273      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  274      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  275      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  276      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  277      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  278      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  279      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  280      Bennett, Christina, et al   Donald L. Schlapprizzi P.C. // Lenze Lawyers, PLC    3:21-cv-13454
                                       // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                               Inc.
  281           Alter, Lauren                          Driscoll Firm, P.C.                  3:23-cv-13093
  282           Hoover, Cheri                         Driscoll Firm, P.C.                   3:23-cv-13586
  283          Bridges, Eunice                        Driscoll Firm, P.C.                   3:23-cv-13634
  284          Allen, Jeanine                       Goldenberg Law, PLLC                    3:21-cv-12691
  285            Gotel, Tory             HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-09993
  286           Miles, Pinnie            HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10078
  287          Steele, Dionne            HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10161
  288           Tart, Tansha             HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10289
  289          Jacks, Melissa            HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10552
  290           Godwin, Tina             HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10619
  291         Dreiling, Ramona           HAIR SHUNNARAH TRIAL ATTORNEYS LLC                 3:21-cv-10958
  292        McLoughlin, Shari                  Heninger Garrison Davis, LLC                3:21-cv-08532
  293           Banks, Jacob                    Heninger Garrison Davis, LLC                3:21-cv-12820




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Row #          Case Name                  Combined Plaintiff Firms             Current Cause #
 294          Dobe, Denise              Heninger Garrison Davis, LLC            3:21-cv-17816
 295         Kaiser, Brittney           Heninger Garrison Davis, LLC            3:21-cv-17817
 296          Loder, Laura              Heninger Garrison Davis, LLC            3:21-cv-17818
 297          Herro, Gaylyn             Heninger Garrison Davis, LLC            3:21-cv-17819
 298        Powell, Ronald, Sr          Heninger Garrison Davis, LLC            3:21-cv-17853
 299       Betancourt, Teresita             Johnson Becker, PLLC                3:21-cv-19688
 300      McLaughlin, Timothy              Kanner & Whiteley, LLC               3:21-cv-13710
 301        Reynolds, Angela               Kirtland & Packard, LLP              3:21-cv-11396
 302         Liddle, LeeAnn                Kirtland & Packard, LLP              3:21-cv-17451
 303        Cramer, Amanda                 Kirtland & Packard, LLP              3:21-cv-17608
 304      Xhaxho-Skezas, Aida              Kirtland & Packard, LLP              3:21-cv-17619
 305          Tuttle, Denise               Kirtland & Packard, LLP              3:21-cv-20619
 306        Martin, Jasmine S                Kline & Specter, P.C.              3:21-cv-05697
 307      Walsingham, Charles           Law Offices of Donald G. Norris         3:21-cv-11667
 308         Erickson, Janice           Law Offices of Donald G. Norris         3:23-cv-04656
 309          Lipe, Sharon              Law Offices of Donald G. Norris         3:23-cv-04667
 310           Rice, Lillian            Law Offices of Donald G. Norris         3:23-cv-04671
 311        Rodriguez, Betty            Law Offices of Donald G. Norris         3:23-cv-13117
 312         Daffin, Tammy         Lenze Kamerrer Moss, PLC // Robinson,        3:21-cv-15230
                                   Calcagnie, Robinson, Shapiro, Davis, Inc.
 313        Delvalle, Patricia     Lenze Kamerrer Moss, PLC // Robinson,        3:21-cv-15659
                                   Calcagnie, Robinson, Shapiro, Davis, Inc.
 314          Dias, Patricia       Lenze Kamerrer Moss, PLC // Robinson,        3:21-cv-15661
                                   Calcagnie, Robinson, Shapiro, Davis, Inc.
 315          Gordon, Rosa         Lenze Kamerrer Moss, PLC // Robinson,        3:21-cv-15753
                                   Calcagnie, Robinson, Shapiro, Davis, Inc.
 316        McAliley, Suanne       Lenze Kamerrer Moss, PLC // Robinson,        3:21-cv-15971
                                   Calcagnie, Robinson, Shapiro, Davis, Inc.
 317          Howe, Maria                    Lenze Lawyers, PLC                 3:21-cv-15437
 318          Mouat, Susie                   Lenze Lawyers, PLC                 3:21-cv-15984
 319       Samuelsen, Barbara     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14740
                                        Robinson, Shapiro, Davis, Inc.
 320          Walker, Bettie      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14748
                                        Robinson, Shapiro, Davis, Inc.
 321        Ottens, Chantelle     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14772
                                        Robinson, Shapiro, Davis, Inc.
 322          Willett, Christy    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14780
                                        Robinson, Shapiro, Davis, Inc.
 323         Powers, Cindy        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14781
                                        Robinson, Shapiro, Davis, Inc.
 324         Martin, Claudia      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14785
                                        Robinson, Shapiro, Davis, Inc.
 325         Serna, Claudia       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14786
                                        Robinson, Shapiro, Davis, Inc.
 326     Turnage, Cynthia Gayle   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14793
                                        Robinson, Shapiro, Davis, Inc.
 327      Secrest-Kent, Deborah   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14812
                                        Robinson, Shapiro, Davis, Inc.
 328         Kovach, Debra        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14818
                                        Robinson, Shapiro, Davis, Inc.
 329          Nelson, Debra       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14822
                                        Robinson, Shapiro, Davis, Inc.




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Row #          Case Name                     Combined Plaintiff Firms             Current Cause #
 330         Corkins, Deena          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14824
                                           Robinson, Shapiro, Davis, Inc.
 331        Chenault, Delores        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14825
                                           Robinson, Shapiro, Davis, Inc.
 332          Hunold, Denise         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14828
                                           Robinson, Shapiro, Davis, Inc.
 333          Aparicio, Diana        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14833
                                           Robinson, Shapiro, Davis, Inc.
 334         Ocampo, Diana           Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14835
                                           Robinson, Shapiro, Davis, Inc.
 335          Mattox, Donna          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14847
                                           Robinson, Shapiro, Davis, Inc.
 336           James, Doris          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14853
                                           Robinson, Shapiro, Davis, Inc.
 337         Ramon, Elipihna         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14858
                                           Robinson, Shapiro, Davis, Inc.
 338        Sawyer, Elizabeth        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14860
                                           Robinson, Shapiro, Davis, Inc.
 339          Garcia, Erlinda        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14864
                                           Robinson, Shapiro, Davis, Inc.
 340           Key, Esther           Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14867
                                           Robinson, Shapiro, Davis, Inc.
 341          Davis, Everlyn         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14870
                                           Robinson, Shapiro, Davis, Inc.
 342           Dorcil, Faith         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14872
                                           Robinson, Shapiro, Davis, Inc.
 343          Saleem, Frieda         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14875
                                           Robinson, Shapiro, Davis, Inc.
 344     Rodriguez, Gisela Cintron   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14878
                                           Robinson, Shapiro, Davis, Inc.
 345         Williams, Gliceria      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14880
                                           Robinson, Shapiro, Davis, Inc.
 346          Kimble, Gloria         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14884
                                           Robinson, Shapiro, Davis, Inc.
 347         Nelson, Hannah          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14886
                                           Robinson, Shapiro, Davis, Inc.
 348          Ferriby, Helen         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14890
                                           Robinson, Shapiro, Davis, Inc.
 349        Reed-Joseph, Iliza       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14901
                                           Robinson, Shapiro, Davis, Inc.
 350            Hutzler, Ivy         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14906
                                           Robinson, Shapiro, Davis, Inc.
 351       McMillan, Jacqueline      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14909
                                           Robinson, Shapiro, Davis, Inc.
 352       Reynolds, Jacqueline      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14910
                                           Robinson, Shapiro, Davis, Inc.
 353       Speight, Jacqueline       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14911
                                           Robinson, Shapiro, Davis, Inc.
 354         Martinez, Jamie         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14912
                                           Robinson, Shapiro, Davis, Inc.
 355           Lease, Janet          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14916
                                           Robinson, Shapiro, Davis, Inc.
 356          Deken, Janine          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14920
                                           Robinson, Shapiro, Davis, Inc.
 357          James, Jannie          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14921
                                           Robinson, Shapiro, Davis, Inc.
 358           Bruhn, Jean           Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14922
                                           Robinson, Shapiro, Davis, Inc.
 359           Geary, Jean           Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14923
                                           Robinson, Shapiro, Davis, Inc.



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 360         Ellis, Jennifer     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14926
                                       Robinson, Shapiro, Davis, Inc.
 361         Elkins, Jessica     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14931
                                       Robinson, Shapiro, Davis, Inc.
 362           Moore, Jill       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14933
                                       Robinson, Shapiro, Davis, Inc.
 363          Mager, Joan        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14935
                                       Robinson, Shapiro, Davis, Inc.
 364          Owen, Joan         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14936
                                       Robinson, Shapiro, Davis, Inc.
 365        Williams, Judith     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-14948
                                       Robinson, Shapiro, Davis, Inc.
 366        Warnke, Robert       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15015
                                       Robinson, Shapiro, Davis, Inc.
 367        Gonzalez, Kristi     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15057
                                       Robinson, Shapiro, Davis, Inc.
 368          Hunt, Lacole       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15060
                                       Robinson, Shapiro, Davis, Inc.
 369          Hobbs, Lesa        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15112
                                       Robinson, Shapiro, Davis, Inc.
 370          Futch, Leslie      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15113
                                       Robinson, Shapiro, Davis, Inc.
 371           Cole, Loni        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15175
                                       Robinson, Shapiro, Davis, Inc.
 372        Smosny, Brittany     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15176
                                       Robinson, Shapiro, Davis, Inc.
 373       McManus, Lorraine     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15177
                                       Robinson, Shapiro, Davis, Inc.
 374       Mc,Culty, Margaret    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15190
                                       Robinson, Shapiro, Davis, Inc.
 375       Elliott, Misty Rose   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15193
                                       Robinson, Shapiro, Davis, Inc.
 376         Horton, Maria       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15436
                                       Robinson, Shapiro, Davis, Inc.
 377          Myers, Maria       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15439
                                       Robinson, Shapiro, Davis, Inc.
 378      Richardson, Amanda     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15456
                                       Robinson, Shapiro, Davis, Inc.
 379       Garrett, Jacqueline   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15461
                                       Robinson, Shapiro, Davis, Inc.
 380       Petrefski, Marisol    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15464
                                       Robinson, Shapiro, Davis, Inc.
 381       Logan, Stephanie      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15485
                                       Robinson, Shapiro, Davis, Inc.
 382          Burns, Carl        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15505
                                       Robinson, Shapiro, Davis, Inc.
 383        Johnson, Tanjie      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15525
                                       Robinson, Shapiro, Davis, Inc.
 384       Dugger, Katherine     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15561
                                       Robinson, Shapiro, Davis, Inc.
 385          Dodd, Mary         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15582
                                       Robinson, Shapiro, Davis, Inc.
 386           Buie, Katie       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15596
                                       Robinson, Shapiro, Davis, Inc.
 387         Slack, Kaysha       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15600
                                       Robinson, Shapiro, Davis, Inc.
 388         May, Michelle       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15610
                                       Robinson, Shapiro, Davis, Inc.
 389         Stewart, Kellie     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15612
                                       Robinson, Shapiro, Davis, Inc.



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 390          Crowe, Nancy          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15617
                                          Robinson, Shapiro, Davis, Inc.
 391         Williams, Kendra       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15621
                                          Robinson, Shapiro, Davis, Inc.
 392         Masterson, Nina        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15623
                                          Robinson, Shapiro, Davis, Inc.
 393          Jones, Norma          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15630
                                          Robinson, Shapiro, Davis, Inc.
 394         Moore, Pamula          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15658
                                          Robinson, Shapiro, Davis, Inc.
 395          Peace, Leann          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15660
                                          Robinson, Shapiro, Davis, Inc.
 396          Taylor, Letitia       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15667
                                          Robinson, Shapiro, Davis, Inc.
 397          Scarlett, Lillie      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15669
                                          Robinson, Shapiro, Davis, Inc.
 398          Horton, Peggy         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15673
                                          Robinson, Shapiro, Davis, Inc.
 399           Hord, Penny          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15674
                                          Robinson, Shapiro, Davis, Inc.
 400           Yocom, Lisa          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15719
                                          Robinson, Shapiro, Davis, Inc.
 401       Sumpter, Lolita Earle    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15730
                                          Robinson, Shapiro, Davis, Inc.
 402     Falcon, Regina Whitaker    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15741
                                          Robinson, Shapiro, Davis, Inc.
 403            Love, Rita          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15742
                                          Robinson, Shapiro, Davis, Inc.
 404      Falcon, Rosalva Davila    Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15760
                                          Robinson, Shapiro, Davis, Inc.
 405       Oropeza, Martha E.       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15807
                                          Robinson, Shapiro, Davis, Inc.
 406     Yingling, Melody Menefee   Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15821
                                          Robinson, Shapiro, Davis, Inc.
 407        Sanchez, Monica         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15826
                                          Robinson, Shapiro, Davis, Inc.
 408           Moore, Ruth          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15835
                                          Robinson, Shapiro, Davis, Inc.
 409          Hicks, Sandra         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15839
                                          Robinson, Shapiro, Davis, Inc.
 410        Lopez-Rey, Selena       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15882
                                          Robinson, Shapiro, Davis, Inc.
 411         Neuman, Sharri         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15888
                                          Robinson, Shapiro, Davis, Inc.
 412       Talamantes, Patricia     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15891
                                          Robinson, Shapiro, Davis, Inc.
 413       Vanderpool, Patricia     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15904
                                          Robinson, Shapiro, Davis, Inc.
 414        Strawhorn, Phyllis      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15908
                                          Robinson, Shapiro, Davis, Inc.
 415         Young, Porschia        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15954
                                          Robinson, Shapiro, Davis, Inc.
 416        Roberts, Rebecca        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15963
                                          Robinson, Shapiro, Davis, Inc.
 417          Cruze, Susan          Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-15973
                                          Robinson, Shapiro, Davis, Inc.
 418          Felkins, Tanya        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16016
                                          Robinson, Shapiro, Davis, Inc.
 419         Coward, Teresa         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16019
                                          Robinson, Shapiro, Davis, Inc.



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Row #          Case Name                   Combined Plaintiff Firms             Current Cause #
 420         Gossard, Teresa       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16020
                                         Robinson, Shapiro, Davis, Inc.
 421        Burns, Sandra Sue      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16030
                                         Robinson, Shapiro, Davis, Inc.
 422      Thomas-Lewis, Sheila     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16034
                                         Robinson, Shapiro, Davis, Inc.
 423         Culpepper, Tina       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16037
                                         Robinson, Shapiro, Davis, Inc.
 424         Gilbert, Tomieka      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16038
                                         Robinson, Shapiro, Davis, Inc.
 425       Thomaston, Sharon       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16041
                                         Robinson, Shapiro, Davis, Inc.
 426           Milam, Toni         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16046
                                         Robinson, Shapiro, Davis, Inc.
 427          Herring, Tonya       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16052
                                         Robinson, Shapiro, Davis, Inc.
 428         Callahan, Sheila      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16053
                                         Robinson, Shapiro, Davis, Inc.
 429        Patterson, Shelley     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16058
                                         Robinson, Shapiro, Davis, Inc.
 430          Jones, Tracy         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16060
                                         Robinson, Shapiro, Davis, Inc.
 431          Nordick, Trudy       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16062
                                         Robinson, Shapiro, Davis, Inc.
 432        Franklin, Veronica     Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16065
                                         Robinson, Shapiro, Davis, Inc.
 433         Freger, Victoria      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16080
                                         Robinson, Shapiro, Davis, Inc.
 434          Trotter, Sherry      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16086
                                         Robinson, Shapiro, Davis, Inc.
 435         Jackson, Vonda        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16087
                                         Robinson, Shapiro, Davis, Inc.
 436        Wickstrom, Sherry      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16089
                                         Robinson, Shapiro, Davis, Inc.
 437        Anderson, Shirley      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16090
                                         Robinson, Shapiro, Davis, Inc.
 438          Lewis, Wendy         Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16092
                                         Robinson, Shapiro, Davis, Inc.
 439         Britten, Yvonne       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16096
                                         Robinson, Shapiro, Davis, Inc.
 440      Walker-McGee, Stacy      Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16148
                                         Robinson, Shapiro, Davis, Inc.
 441        Pedersen, Susan        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16151
                                         Robinson, Shapiro, Davis, Inc.
 442          Smith, Susette       Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-16152
                                         Robinson, Shapiro, Davis, Inc.
 443           Riffe, Penny        Lenze Lawyers, PLC // Robinson, Calcagnie,    3:21-cv-17823
                                         Robinson, Shapiro, Davis, Inc.
 444          Wright, Elissa                Morelli Law Firm, PLLC               3:21-cv-19513
 445         Fisher, Rebecca                 Morelli Law Firm, PLLC              3:21-cv-19838
 446         Glover, Rhonda                  Morelli Law Firm, PLLC              3:23-cv-12099
 447          Head, Tammy                    Morelli Law Firm, PLLC              3:23-cv-12791
 448         Spencer, Bobbie                 Morelli Law Firm, PLLC              3:23-cv-13141
 449      Fischer, Natasha Lewis               Morgan & Morgan                   3:23-cv-06893
 450          Ortiz, Alvessa                   Morgan & Morgan                   3:23-cv-06895
 451          Cruz, Rhonda                     Morgan & Morgan                   3:23-cv-10706
 452        Upchurch, Zachary                  Morgan & Morgan                   3:23-cv-10793




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Row #          Case Name            Combined Plaintiff Firms    Current Cause #
 453          Suggs, Tanya              Morris Bart, LLC         3:21-cv-05571
 454         PYE, LORETTA               Morris Bart, LLC         3:23-cv-04925
 455           Pye, Loretta             Morris Bart, LLC         3:23-cv-04933
 456         Wright, Edward             Morris Bart, LLC         3:23-cv-06360
 457      Chapman, Theresa L       Motley Rice New Jersey LLC    3:21-cv-00120
 458        Carthen, Joann F       Motley Rice New Jersey LLC    3:21-cv-00123
 459       Buenting, Ashley N      Motley Rice New Jersey LLC    3:21-cv-01024
 460     Crocker, Raquel Celeste   Motley Rice New Jersey LLC    3:21-cv-18807
 461        Avery, Mildred L.           Motley Rice, LLC         3:21-cv-09963
 462      Savage, Rachel Gwynn          Motley Rice, LLC         3:21-cv-12595
 463           Smith, Dixie             Motley Rice, LLC         3:21-cv-12727
 464         Hickman, Diana             Motley Rice, LLC         3:21-cv-16818
 465         Sickles, Jean S.           Motley Rice, LLC         3:21-cv-16886
 466       Nicholas, Leann S.           Motley Rice, LLC         3:21-cv-18712
 467        Skerman, Anna L             Motley Rice, LLC         3:21-cv-18725
 468        Brown, Daniel, Jr           Motley Rice, LLC         3:21-cv-18728
 469          Toomey, Carol             Motley Rice, LLC         3:21-cv-18735
 470         Robinson, Carol            Motley Rice, LLC         3:21-cv-18747
 471        Valenti, Joseph V.          Motley Rice, LLC         3:21-cv-18753
 472       Kirshner, Liliana P.         Motley Rice, LLC         3:21-cv-18780
 473        Justice, Robert L           Motley Rice, LLC         3:21-cv-18782
 474       Russell, RaLene W.           Motley Rice, LLC         3:21-cv-18783
 475       Willhite, Anna Vadell        Motley Rice, LLC         3:21-cv-18791
 476        Lamar, Virginia S           Motley Rice, LLC         3:21-cv-18794
 477          Garcia, Hilda             Motley Rice, LLC         3:21-cv-18802
 478        James, Kathryn C.           Motley Rice, LLC         3:21-cv-18803
 479       Adamson, Linda M.            Motley Rice, LLC         3:21-cv-18805
 480         Howell, Lorrie A.          Motley Rice, LLC         3:21-cv-18809
 481       Hensley, Deborah L.          Motley Rice, LLC         3:21-cv-18811
 482            Lai, Uyen               Motley Rice, LLC         3:21-cv-18813
 483        Manley, Gisela V            Motley Rice, LLC         3:21-cv-18816
 484       Krumm, Michelle A            Motley Rice, LLC         3:21-cv-18818
 485         Lovewell, Ann M            Motley Rice, LLC         3:21-cv-18849
 486          Elias, Sallyann           Motley Rice, LLC         3:21-cv-18851
 487      Monaghan, Pamela S            Motley Rice, LLC         3:21-cv-18854
 488         Riccio, Deborah            Motley Rice, LLC         3:21-cv-18855
 489       Medeiros, Barbara A          Motley Rice, LLC         3:21-cv-18858
 490       Liberatore, Donald J         Motley Rice, LLC         3:21-cv-18861
 491         Nix, Deborah T.            Motley Rice, LLC         3:21-cv-18866
 492         Whitt, Charles M           Motley Rice, LLC         3:21-cv-18871
 493        Honicutt, Janna B           Motley Rice, LLC         3:21-cv-18874
 494        Nelson, Virgilean           Motley Rice, LLC         3:21-cv-18906
 495       Salazar, Kathleen F.         Motley Rice, LLC         3:21-cv-18907
 496         Boyers, Jack E             Motley Rice, LLC         3:21-cv-18908
 497        Guzikowski, Lori R          Motley Rice, LLC         3:21-cv-19017



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Row #          Case Name             Combined Plaintiff Firms   Current Cause #
 498        Hammons, Monica              Motley Rice, LLC        3:21-cv-19020
 499           Meck, Donna               Motley Rice, LLC        3:21-cv-19033
 500          Marsh, Kyle A              Motley Rice, LLC        3:21-cv-19041
 501          Akins, Kelly Jo            Motley Rice, LLC        3:21-cv-19042
 502        Barnett, Barbara H           Motley Rice, LLC        3:21-cv-19044
 503         Carney, Vester L            Motley Rice, LLC        3:21-cv-19045
 504        Hawley, Yvonne M             Motley Rice, LLC        3:21-cv-19047
 505          Balski, Kathy A            Motley Rice, LLC        3:21-cv-19048
 506         Maddox, Alice E.            Motley Rice, LLC        3:21-cv-19049
 507        Morang, Elaine C             Motley Rice, LLC        3:21-cv-19050
 508         Patten, Bonnie J            Motley Rice, LLC        3:21-cv-19052
 509       Steinfort, Gennine A          Motley Rice, LLC        3:21-cv-19053
 510       Cronk, Sherry Lynne           Motley Rice, LLC        3:21-cv-19054
 511      Konys-Colson, Julie A          Motley Rice, LLC        3:21-cv-19055
 512     Askew, Melanie Journey          Motley Rice, LLC        3:21-cv-19056
 513     Bridgers, Susan Bartels         Motley Rice, LLC        3:21-cv-19057
 514          Favor, Cori H              Motley Rice, LLC        3:21-cv-19058
 515         Wonsey, Cheryl              Motley Rice, LLC        3:21-cv-19059
 516      Halstead, Arilyn Ruffell       Motley Rice, LLC        3:21-cv-19060
 517         Alston, Janice F            Motley Rice, LLC        3:21-cv-19061
 518        Harf, Leslie Carno           Motley Rice, LLC        3:21-cv-19062
 519       Keriazakos, Lynn E.           Motley Rice, LLC        3:21-cv-19064
 520        Lavallee, Darcy J.           Motley Rice, LLC        3:21-cv-19065
 521         Olson, Thomas J             Motley Rice, LLC        3:21-cv-19067
 522       Hall, Johnnie W., Sr.         Motley Rice, LLC        3:21-cv-19069
 523     McCaughan, Stephen A.           Motley Rice, LLC        3:21-cv-19070
 524         Guara, Jennifer             Motley Rice, LLC        3:21-cv-19071
 525      LoPresto, Cindy Lynn           Motley Rice, LLC        3:21-cv-19076
 526        Romero, Gloria S             Motley Rice, LLC        3:21-cv-19080
 527        Shute, Richard C             Motley Rice, LLC        3:21-cv-19082
 528          Miller, Kevin L.           Motley Rice, LLC        3:21-cv-19083
 529        Hoeftman, Beverly            Motley Rice, LLC        3:21-cv-19084
 530         Yelverton, Mary             Motley Rice, LLC        3:21-cv-19085
 531       Burke, Rosemary A             Motley Rice, LLC        3:21-cv-19086
 532        Buchowski, Judith            Motley Rice, LLC        3:21-cv-19091
 533           Burns, Nadia              Motley Rice, LLC        3:21-cv-19094
 534         Garrett, Manieka            Motley Rice, LLC        3:21-cv-19096
 535        Brown, Rudolph C             Motley Rice, LLC        3:21-cv-19098
 536           Hilton, Craig             Motley Rice, LLC        3:21-cv-19099
 537        DeLong, Kayla C.             Motley Rice, LLC        3:21-cv-19100
 538          King, Robert J.            Motley Rice, LLC        3:21-cv-19103
 539        Tremaine, Alan D             Motley Rice, LLC        3:21-cv-19107
 540         Smith, Monty J.             Motley Rice, LLC        3:21-cv-19108
 541       Smith, Stephanie Jo           Motley Rice, LLC        3:21-cv-19112
 542        O'Connell, Rhonda            Motley Rice, LLC        3:21-cv-19114



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Row #         Case Name              Combined Plaintiff Firms         Current Cause #
 543        Roberts, Michael              Motley Rice, LLC             3:21-cv-19118
 544       Robinson, Charlene             Motley Rice, LLC             3:21-cv-19119
 545        Roilton, Precious             Motley Rice, LLC             3:21-cv-19120
 546        Morgan, Mark W.               Motley Rice, LLC             3:21-cv-19121
 547        Frazier, Wendell              Motley Rice, LLC             3:21-cv-19123
 548        Jimerson, Harriet             Motley Rice, LLC             3:21-cv-19125
 549         Crook, Michael               Motley Rice, LLC             3:21-cv-19127
 550         Ponce, Cecilia               Motley Rice, LLC             3:21-cv-19128
 551       Prosek, Joseph R.              Motley Rice, LLC             3:21-cv-19129
 552        Caskey, Barbara               Motley Rice, LLC             3:21-cv-19130
 553         Powell, Lois D               Motley Rice, LLC             3:21-cv-19131
 554        Kondos, Paulette              Motley Rice, LLC             3:21-cv-19132
 555      Casarez, Patricia C.            Motley Rice, LLC             3:21-cv-19133
 556       Walker, Thomas J               Motley Rice, LLC             3:21-cv-19134
 557        Wright, Angela P              Motley Rice, LLC             3:21-cv-19136
 558         Wise, Heidi M                Motley Rice, LLC             3:21-cv-19137
 559        Waldrep, Charlie              Motley Rice, LLC             3:21-cv-19139
 560      Franklin, John H., Jr.          Motley Rice, LLC             3:21-cv-19146
 561        Sherwood, Maria               Motley Rice, LLC             3:21-cv-19148
 562       Manuel, Janine A.              Motley Rice, LLC             3:21-cv-19154
 563         Smith, Dawn M                Motley Rice, LLC             3:21-cv-19156
 564        Bias, Thomas E.               Motley Rice, LLC             3:21-cv-19161
 565        Picanso, Denise               Motley Rice, LLC             3:21-cv-19163
 566        Phillips, R. Dean             Motley Rice, LLC             3:21-cv-19164
 567       Townsend, Kesia M              Motley Rice, LLC             3:21-cv-19166
 568           Niu, Fifita                Motley Rice, LLC             3:21-cv-19175
 569        Lindley, Michelle             Motley Rice, LLC             3:21-cv-19176
 570          Wilson, Keith               Motley Rice, LLC             3:21-cv-19180
 571      Johnston, William H.            Motley Rice, LLC             3:21-cv-19181
 572        Mooney, Anita L               Motley Rice, LLC             3:21-cv-19182
 573       Phillips, Frances E            Motley Rice, LLC             3:21-cv-19184
 574        Pendleton, Austin             Motley Rice, LLC             3:21-cv-19185
 575      Zinnerman, Janine M             Motley Rice, LLC             3:21-cv-19188
 576         White, Danny L               Motley Rice, LLC             3:21-cv-19190
 577        Nauman, Larry A.              Motley Rice, LLC             3:21-cv-19209
 578        Mayfield, JoAnn               Motley Rice, LLC             3:21-cv-19214
 579        Lane, George R              Nicole M Varisco, Esq          3:21-cv-12094
 580        Taylor, Florence            Parafinczuk Wolf, P.A.         3:21-cv-17829
 581        Yzquierdo, Irena            Parafinczuk Wolf, P.A.         3:21-cv-17833
 582         Grant, Regina              Parafinczuk Wolf, P.A.         3:21-cv-17838
 583        Lanham, Casey          Poulin, Willey, Anastopoulo, LLC    3:22-cv-06379
 584        Watson, Herman                      Pro se                 3:21-cv-15636
 585         Bruns, Barbara             Reich & Binstock, LLP          3:21-cv-18759
 586       Shapiro, Margaret            Reich & Binstock, LLP          3:21-cv-18774
 587       McDowell, Marsha             Reich & Binstock, LLP          3:21-cv-18784



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Row #         Case Name                     Combined Plaintiff Firms               Current Cause #
 588          Burt, Mildred                   Reich & Binstock, LLP                 3:21-cv-18786
 589        Golden, Patricia                  Reich & Binstock, LLP                 3:21-cv-18788
 590         Minsky, Paula                    Reich & Binstock, LLP                 3:21-cv-18792
 591        Berwald, Shanon                   Reich & Binstock, LLP                 3:21-cv-18798
 592        Duckett, Shelley                  Reich & Binstock, LLP                 3:21-cv-18800
 593        Touchton, Vicky                   Reich & Binstock, LLP                 3:21-cv-18801
 594           Porter, Phil                   Reich & Binstock, LLP                 3:21-cv-18961
 595         Wilford, Janelle                 Reich & Binstock, LLP                 3:21-cv-18963
 596       Humphrey, Keener                   Reich & Binstock, LLP                 3:21-cv-18965
 597       McClure, Kenneth                   Reich & Binstock, LLP                 3:21-cv-19192
 598          Brown, Lillian                  Reich & Binstock, LLP                 3:21-cv-19194
 599        Green, Ischnora                   Reich & Binstock, LLP                 3:21-cv-19196
 600          Brizuela, Lilia                 Reich & Binstock, LLP                 3:21-cv-19199
 601        Alexander, Maria                  Reich & Binstock, LLP                 3:21-cv-19200
 602       Thompson, Tanya                    Reich & Binstock, LLP                 3:21-cv-19201
 603         Goldsmith, Ola                   Reich & Binstock, LLP                 3:21-cv-19202
 604         Ettinger, Alan                   Reich & Binstock, LLP                 3:21-cv-19204
 605          Grant, Robin                   Robinson Calcagnie, Inc.               3:21-cv-15744
 606        Morales Jr., Joe      Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-10759
                                                       Inc.
 607        Green, Marianne       Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-14367
                                                       Inc.
 608      Molter, Rhonda Sue      Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-14439
                                                       Inc.
 609       Hardin, Kassandra      Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-14509
                                                       Inc.
 610       Owens, Shamonda        Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-14511
                                                       Inc.
 611         King, Matthew        Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-15088
                                                       Inc.
 612           Ruiz, Lucia        Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-15751
                                                       Inc.
 613         Mitchell, Rose       Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-15764
                                                       Inc.
 614       Perkinson, Tamar       Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16176
                                                       Inc.
 615         Pepin, Tammy         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16179
                                                       Inc.
 616         Thomas, Toni         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16187
                                                       Inc.
 617        Andrews, Vanna        Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16208
                                                       Inc.
 618        Pilegard, Virginia    Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16247
                                                       Inc.
 619      Smith-Futrell, Vivian   Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:21-cv-16254
                                                       Inc.
 620       Bowens, Sharritta            Saltz Mongeluzzi & Bendesky PC              3:21-cv-06538
 621       Rollings, Leigh-Ann           Saltz Mongeluzzi & Bendesky PC             3:21-cv-06575
 622       Mohead, Christiana            Saltz Mongeluzzi & Bendesky PC             3:21-cv-09599
 623         Dixon, Timika               Saltz Mongeluzzi & Bendesky PC             3:21-cv-11593
 624        Grazes, Aladrea              Saltz Mongeluzzi & Bendesky PC             3:21-cv-11637
 625          Luna, Nayda                Saltz Mongeluzzi & Bendesky PC             3:21-cv-11785




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Row #          Case Name               Combined Plaintiff Firms      Current Cause #
 626          Kahl, Jessica         Saltz Mongeluzzi & Bendesky PC    3:21-cv-12381
 627         Horne, Tammy           Saltz Mongeluzzi & Bendesky PC    3:21-cv-15337
 628          Olmos, Maria          Saltz Mongeluzzi & Bendesky PC    3:21-cv-15364
 629          Faber, Arlene         Saltz Mongeluzzi & Bendesky PC    3:21-cv-17297
 630        Sharpe, Florence        Saltz Mongeluzzi & Bendesky PC    3:21-cv-17650
 631         Slutzkin, Judith       Saltz Mongeluzzi & Bendesky PC    3:21-cv-19035
 632         Kiesel, Joanne         Saltz Mongeluzzi & Bendesky PC    3:21-cv-19039
 633        Isackson, Sharon        Saltz Mongeluzzi & Bendesky PC    3:21-cv-19040
 634      Wingerter, Stephanie      Saltz Mongeluzzi & Bendesky PC    3:23-cv-04789
 635        Askew, Georgena         Saltz Mongeluzzi & Bendesky PC    3:23-cv-04792
 636       Mullendore, Jessica      Saltz Mongeluzzi & Bendesky PC    3:23-cv-04796
 637         Dangler, Linda         Saltz Mongeluzzi & Bendesky PC    3:23-cv-04963
 638        Lawter, Jeanette        Saltz Mongeluzzi & Bendesky PC    3:23-cv-04984
 639       Dacapias, Gabriela       Saltz Mongeluzzi & Bendesky PC    3:23-cv-05084
 640         Shelby, Pamela         Saltz Mongeluzzi & Bendesky PC    3:23-cv-05092
 641        Probert, Darlene        Saltz Mongeluzzi & Bendesky PC    3:23-cv-05096
 642     Martin-Michalec, Cynthia   Saltz Mongeluzzi & Bendesky PC    3:23-cv-05291
 643         Thomas, Bobby          Saltz Mongeluzzi & Bendesky PC    3:23-cv-05295
 644        Shattuck, Brenda        Saltz Mongeluzzi & Bendesky PC    3:23-cv-05313
 645           Cox, Katrina         Saltz Mongeluzzi & Bendesky PC    3:23-cv-05315
 646          Burton, Mary          Saltz Mongeluzzi & Bendesky PC    3:23-cv-06961
 647     Barbro, Donna Margaret     Saltz Mongeluzzi & Bendesky PC    3:23-cv-06997
 648       Newsom, Pamela J.        Saltz Mongeluzzi & Bendesky PC    3:23-cv-07012
 649          Collins, Cindy        Saltz Mongeluzzi & Bendesky PC    3:23-cv-07036
 650           Clay, Alison         Saltz Mongeluzzi & Bendesky PC    3:23-cv-07047
 651          Lyles, Yvonne         Saltz Mongeluzzi & Bendesky PC    3:23-cv-07134
 652         Amstutz, Joyce         Saltz Mongeluzzi & Bendesky PC    3:23-cv-07169
 653         Kobli, Sally Lee       Saltz Mongeluzzi & Bendesky PC    3:23-cv-07370
 654         Campbell, Nellie       Saltz Mongeluzzi & Bendesky PC    3:23-cv-07414
 655      Quattrocchi, Danielle     Saltz Mongeluzzi & Bendesky PC    3:23-cv-07455
 656        Knowles, Camille        Saltz Mongeluzzi & Bendesky PC    3:23-cv-08049
 657          Bujnoch, Dee          Saltz Mongeluzzi & Bendesky PC    3:23-cv-08054
 658         Vandegrift, Judy       Saltz Mongeluzzi & Bendesky PC    3:23-cv-08073
 659          Ellis, Christina      Saltz Mongeluzzi & Bendesky PC    3:23-cv-08082
 660          Vikstrom, Kim         Saltz Mongeluzzi & Bendesky PC    3:23-cv-08088
 661       Holmes, Stephanie        Saltz Mongeluzzi & Bendesky PC    3:23-cv-08129
 662         Hadley, Peggy          Saltz Mongeluzzi & Bendesky PC    3:23-cv-08136
 663          Daneke, Kim           Saltz Mongeluzzi & Bendesky PC    3:23-cv-08156
 664       Robinette, Candace       Saltz Mongeluzzi & Bendesky PC    3:23-cv-08172
 665        Larimer, Deborah        Saltz Mongeluzzi & Bendesky PC    3:23-cv-08179
 666         Miller, General        Saltz Mongeluzzi & Bendesky PC    3:23-cv-09838
 667         Howard, Jamie          Saltz Mongeluzzi & Bendesky PC    3:23-cv-11794
 668        Saunders, Latoya        Saltz Mongeluzzi & Bendesky PC    3:23-cv-11805
 669         Abikoff, Renee         Saltz Mongeluzzi & Bendesky PC    3:23-cv-11813
 670         Burts, Jennette        Saltz Mongeluzzi & Bendesky PC    3:23-cv-11826



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Row #          Case Name               Combined Plaintiff Firms      Current Cause #
 671        Cannell, Darlene        Saltz Mongeluzzi & Bendesky PC    3:23-cv-11834
 672           Shin, Hanny          Saltz Mongeluzzi & Bendesky PC    3:23-cv-11955
 673        Edmonds, Juanita        Saltz Mongeluzzi & Bendesky PC    3:23-cv-11976
 674        Wichman, Patricia       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12005
 675         Rasnick, Tracy         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12010
 676         Brothers, Debra        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12019
 677       Chapman, Michelle        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12028
 678          Alcozer, Mary         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12031
 679         Whitson, Katena        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12039
 680        Rodriguez, Alyse        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12045
 681          Rose, Christa         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12047
 682          Basham, Love          Saltz Mongeluzzi & Bendesky PC    3:23-cv-12052
 683      Doughty, Barbara Anne     Saltz Mongeluzzi & Bendesky PC    3:23-cv-12059
 684       McConchie, Marlene       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12090
 685        Frazier, Calandra       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12304
 686        McCurry, Sandra         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12306
 687          Fisher, Evelyn        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12360
 688        Gallman, Deanna         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12382
 689        Costanzo, Krystal       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12395
 690        Downey, Vanessa         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12404
 691      Cummings, Nancy Lee       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12482
 692         Brooks, Amanda         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12483
 693      Betancourt, Asuncion      Saltz Mongeluzzi & Bendesky PC    3:23-cv-12492
 694         Mcalpin, Sharon        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12497
 695         Smalls, Audrey         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12503
 696       Ackerman, Theresa        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12514
 697          Murphy, Clara         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12518
 698       Shtayyeh, Deborah        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12525
 699            Ciolfi, Tina        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12534
 700         Garcia, Estrella       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12543
 701        Cooper, Lakeisha        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12552
 702           Jenkins, Ida         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12553
 703         Holmes, Jimmi          Saltz Mongeluzzi & Bendesky PC    3:23-cv-12558
 704         Saldana, Marine        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12559
 705          Johnson, Jodi         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12564
 706      Wallace, Lynette Alicia   Saltz Mongeluzzi & Bendesky PC    3:23-cv-12571
 707       Helm, Rachel Lynn        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12591
 708        Higginbotham, Tai       Saltz Mongeluzzi & Bendesky PC    3:23-cv-12607
 709          Kasten, Torra         Saltz Mongeluzzi & Bendesky PC    3:23-cv-12613
 710      Bailey, Mesha Dianne      Saltz Mongeluzzi & Bendesky PC    3:23-cv-12619
 711       Scanlon, Holly Asher     Saltz Mongeluzzi & Bendesky PC    3:23-cv-12642
 712        Breedlove, Donna        Saltz Mongeluzzi & Bendesky PC    3:23-cv-12672
 713        Dishmon, Miranda        Saltz Mongeluzzi & Bendesky PC    3:23-cv-13200
 714          Floyd, Jelissa        Saltz Mongeluzzi & Bendesky PC    3:23-cv-13253
 715        Slay, Lucinda Bea       Saltz Mongeluzzi & Bendesky PC    3:23-cv-13255



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 716          Forward, Diane                Saltz Mongeluzzi & Bendesky PC               3:23-cv-13260
 717         Crawford, Deena                Saltz Mongeluzzi & Bendesky PC               3:23-cv-13262
 718        Szymurski, Alethia              Saltz Mongeluzzi & Bendesky PC               3:23-cv-13269
 719            Riley, Mary                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13280
 720           Brice, Roby                  Saltz Mongeluzzi & Bendesky PC               3:23-cv-13281
 721           Noe, Carolyn                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13284
 722         Martinez, Teresa               Saltz Mongeluzzi & Bendesky PC               3:23-cv-13455
 723         Moore, Wendall                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13461
 724        Lamson, Theresa                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13545
 725          Rocha, Marina                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13554
 726           Garcia, Ruby                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13567
 727          Starrett, Susan               Saltz Mongeluzzi & Bendesky PC               3:23-cv-13603
 728          Hansen, Hillary               Saltz Mongeluzzi & Bendesky PC               3:23-cv-13651
 729      Kollar, Emmalea Lynn              Saltz Mongeluzzi & Bendesky PC               3:23-cv-13656
 730       Rapisardi, Christine             Saltz Mongeluzzi & Bendesky PC               3:23-cv-13661
 731        Caringella, Monica              Saltz Mongeluzzi & Bendesky PC               3:23-cv-13670
 732          Wimer, Alyssa                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13682
 733        Westbrook, Cristy               Saltz Mongeluzzi & Bendesky PC               3:23-cv-13689
 734       Mouzourakis, Virginia            Saltz Mongeluzzi & Bendesky PC               3:23-cv-13692
 735       Cummings, Heather                Saltz Mongeluzzi & Bendesky PC               3:23-cv-13705
 736           Ward, Dollie                 Saltz Mongeluzzi & Bendesky PC               3:23-cv-13710
 737         Black, Geraldine               Saltz Mongeluzzi & Bendesky PC               3:23-cv-13716
 738     Rodriguez, Maribel Reyes           Saltz Mongeluzzi & Bendesky PC               3:23-cv-13727
 739           Hicks, Anna                  Saltz Mongeluzzi & Bendesky PC               3:23-cv-13733
 740         Burnett, Gertrude              Saltz Mongeluzzi & Bendesky PC               3:23-cv-13767
 741       Suvanna, Buchanan                Saltz Mongeluzzi & Bendesky PC               3:23-cv-13775
 742           Suttle, Laura        Sanders Phillips Grossman // Lenze Lawyers, PLC      3:21-cv-15657
                                    // Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                           Inc.
 743           Reyes, Maria              Schneider, Wallace, Cottrell Konecky LLP        3:23-cv-04898
 744         Brown, Courtney            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-05249
 745           Bolar, Nicole            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-05287
 746         Morton, Yoshiko            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-06091
 747          Wilson, Jayme             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-06258
 748         Delk, Marquera             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-07090
 749          Graham, Olivia            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-09960
 750         Cooper, Latricia           Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11154
 751         Robinson, Joyce            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11274
 752          Sanders, Linda            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11361
 753         Hughes, Raynell            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11363
 754          Norris, Michael           Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11364
 755          Jackson, Linda            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11369
 756          Jones, Maurice            Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11374
 757            Lakey, Eric             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11379
 758         Dowden, Donald             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11381
 759          White, Tracey             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-11382



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Row #         Case Name                  Combined Plaintiff Firms            Current Cause #
 760           Leitz, Keith       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-11383
 761        Cargus, Roniqua       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12084
 762      Alexander, Dominique    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12108
 763         Willis, Dachelle     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12186
 764       Gonsalves, Meshe       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12202
 765        Whitcomb, Susan       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12333
 766        Watters, Khristina    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12430
 767       Wallace, Kimberly      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12460
 768         Cannon, Tiana        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12478
 769         Hoyte, Raquel        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12593
 770         Jackson, Linda       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12600
 771         Morton, Brenda       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12654
 772        Gaddie, Taunya        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12691
 773        Phelps, Richard       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12699
 774        Henton, Danielle      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12739
 775         Maddox, Cathy        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12997
 776       Geathers, Merlietha    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13021
 777         Mendes, Debra        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13064
 778       Metoyer, Achtravian    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13075
 779           Golden, Ina        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13110
 780         Avalos, Richard      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13115
 781       Hanzy, Chiree Nell     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13131
 782         Gaiduk, Philip       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13158
 783       Killiam, Mary Anne     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13173
 784         Murillo, Gloria      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13198
 785      Mcdonald, Charlotte     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13209
 786        Rosario, Freddie      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13218
 787        Wallace, Tracey       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13229
 788          Fabian, Dana        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13330
 789        Dillard, Randolph     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13485
 790         Evans, William       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13498
 791          Mccall, Faye        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13538
 792          Tucker, Lorita      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13572
 793          Hunt, Dolores       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13575
 794           Lindo, Dian        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13605
 795          Hunt, Katrina       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13609
 796         Grady, Krystal       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13610
 797       Martarella, Joanne     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13615
 798     Borrego-Wilson, Sandra   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13626
 799         Wright, Candis       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13776
 800       Hutchins, Lueverdia    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13783
 801        Greene, Myesha        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13804
 802          Dustin, Gloria      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13858
 803        Grubbs, Isabella      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13865
 804           Guy, Sheila        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-13869



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 805          Leyuas, Ethel           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13871
 806       Hammock, Michelle          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13873
 807         Magee, Sandra            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13874
 808        Middleton, Kimila         Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13875
 809          Clark, Steven           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13878
 810          Waker, Janet            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13906
 811         Tucker, Cynthia          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-13917
 812          Bailey, Paula                      Seeger Weiss LLP                    3:21-cv-19409
 813          Walker, Trena                   Simmons Hanly Conroy                   3:21-cv-18679
 814         Bradley, Harriet                 Simmons Hanly Conroy                   3:23-cv-08302
 815        Caskey, Barbara                   Simmons Hanly Conroy                   3:23-cv-08583
 816          Nestler, Beth                   Simmons Hanly Conroy                   3:23-cv-11228
 817         Dyment, Jo Ann                   Singleton Schreiber, LLP               3:23-cv-06739
 818       Richardson, Sheila              Slater, Slater, Schulman, LLP             3:21-cv-07033
 819         Tyler, Charlene               Slater, Slater, Schulman, LLP             3:21-cv-10049
 820           Ortiz, Mara                 Slater, Slater, Schulman, LLP             3:21-cv-13597
 821         McMullen, Dixie          Smith Law Firm // Lenze Lawyers, PLC //        3:21-cv-14841
                                   Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                        Inc.
 822          Moore, Gertie                 The Benton Law FIrm, PLLC                3:21-cv-07204
 823           Smith, Ruby                  The Benton Law FIrm, PLLC                3:21-cv-13334
 824      Bernhardt, Betty Joann               The Carlson Law Firm                  3:23-cv-08530
 825          Colahan, Kelly                   The Carlson Law Firm                  3:23-cv-10724
 826           Dewitt, Pat                     The Carlson Law Firm                  3:23-cv-10870
 827        Landefeld, Sandra                  The Carlson Law Firm                  3:23-cv-12426
 828           Lipp, David                     The Carlson Law Firm                  3:23-cv-12527
 829         Moncrief, Donna                   The Carlson Law Firm                  3:23-cv-12636
 830        Roberts, Ramonia                   The Carlson Law Firm                  3:23-cv-13165
 831       Sanderson, Sandra                    The Cuffie Law Firm                  3:21-cv-17143
 832         Guiao, Catecha                     The Cuffie Law Firm                  3:21-cv-20497
 833        Jackson, Elizabeth                  The Cuffie Law Firm                  3:21-cv-20517
 834        Sherbine, Rhonda                 The Diaz Law Firm, PLLC                 3:23-cv-04638
 835         Williams, David                 The Diaz Law Firm, PLLC                 3:23-cv-04643
 836          Corbin, Misty                  The Diaz Law Firm, PLLC                 3:23-cv-04661
 837         Silvers, Shavon               The Dilorenzo Law Firm, LLC               3:21-cv-19458
 838           Lee, Karen                      The Dunken Law Firm                   3:21-cv-14699
 839         Zemo, Frances                     The Dunken Law Firm                   3:21-cv-17379
 840        Kitchens, Carlton               The Ferraro Law Firm, P.A.               3:21-cv-10452
 841        Smart, Kimberley                The Ferraro Law Firm, P.A.               3:21-cv-12700
 842         Samuels, Terri                The Levensten Law Firm, P.C.              3:23-cv-08507
 843          Owens, Kerrie                     The Segal Law Firm                   3:21-cv-16001
 844         McCree, Karen                      The Segal Law Firm                   3:21-cv-16734
 845         Avary, Mary Sue                    The Segal Law Firm                   3:21-cv-16798
 846        Falcon, Elizabeth                   The Segal Law Firm                   3:21-cv-17245
 847         Hatton, Victoria                   The Segal Law Firm                   3:21-cv-17901
 848          Trask, Angela                     The Segal Law Firm                   3:21-cv-18381



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 849         Rael, Lou Ann                      The Segal Law Firm                   3:23-cv-04871
 850           Cole, Nina                       The Segal Law Firm                   3:23-cv-06137
 851      Bunker, Mary Susan                    The Segal Law Firm                   3:23-cv-06176
 852        Brazwell, Ashley                    The Segal Law Firm                   3:23-cv-06945
 853        Young, Tracey L.                    The Segal Law Firm                   3:23-cv-07128
 854          Palmer, Lisa                      The Segal Law Firm                   3:23-cv-08046
 855         Deines, Jesse                      The Segal Law Firm                   3:23-cv-08254
 856         Staton, Alisa B.                   The Segal Law Firm                   3:23-cv-08435
 857         Coler, Marcial                     The Segal Law Firm                   3:23-cv-09657
 858         Paige, Anthony                     The Segal Law Firm                   3:23-cv-09693
 859      Lupinacci, Joanne M.                  The Segal Law Firm                   3:23-cv-12999
 860      Dempsey, Theresa L.                   The Segal Law Firm                   3:23-cv-13039
 861           Long, Amy                        The Segal Law Firm                   3:23-cv-13063
 862          Kurtis, Brian                     The Segal Law Firm                   3:23-cv-13083
 863        Gaines, Debra R.                    The Segal Law Firm                   3:23-cv-13242
 864         Ray, Kenyada                       The Segal Law Firm                   3:23-cv-13470
 865      Edwards-Bowen, Tina                   The Segal Law Firm                   3:23-cv-13597
 866      Williams, Veronica P.                 The Segal Law Firm                   3:23-cv-13617
 867          King, Marvin                      The Segal Law Firm                   3:23-cv-13677
 868          Sims, Darlah                 The Whitehead Law Firm, LLC               3:21-cv-13541
 869        Allen, Kimberly L.             The Whitehead Law Firm, LLC               3:23-cv-06423
 870         Spinka, Gary L.               The Whitehead Law Firm, LLC               3:23-cv-08305
 871       Vrooman, David M.               The Whitehead Law Firm, LLC               3:23-cv-08444
 872          Piper, Peggy                       Wagstaff Law Firm                   3:21-cv-18376
 873       Blaylock, Michelle                    Wagstaff Law Firm                   3:21-cv-18386
 874          Mack, Felicia                      Wagstaff Law Firm                   3:21-cv-18574
 875         Romero, Clara                       Wagstaff Law Firm                   3:21-cv-18579
 876      Marcell, Vikki Carlene                 Wagstaff Law Firm                   3:21-cv-18585
 877       Williams, Suzanne                     Wagstaff Law Firm                   3:21-cv-18635
 878         Uitenham, Tina                      Wagstaff Law Firm                   3:21-cv-18761
 879          Elder, Linda                       Wagstaff Law Firm                   3:21-cv-18977
 880       Schrenkel, Darlene                  Waters & Kraus, LLP                   3:21-cv-15592
 881      Stevenson, Kim Lee           Williams Kherkher Hart Boundas, LLP           3:21-cv-17306
 882        Cunningham, Joe            Williams Kherkher Hart Boundas, LLP           3:23-cv-05288
 883         Marcum, Sara           Yaeger Law, PLLC // Lenze Lawyers, PLC //        3:21-cv-15871
                                   Robinson, Calcagnie, Robinson, Shapiro, Davis,
                                                        Inc.




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